 Frank D “Nitty” Sensabaugh            5/   /1981)-




Khalil Coleman      7/ /1986)                 —————————————————————————




Brandon M Love          5/    /1994) ————————————————————————————-




Percy L Hayes JR        1/    /1986)




Brandon R Wilborn (7/        /2001)———————————————————————————




Mariah   Smith     1/ /1992)                      ——————————————




Andre Triplet      2/        /1994)-—————————————————————————————




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 1 of 29 Document 291-4
 Demetrius L Griffin     11/    /1987)                        ———-




 Catarino “Nino” Cerda         7/    /1986)              ——————




Sedan M Smith Sr. (      5/    /1992)——————————————————-




Rebecca Wigley (Burrell)        2/    /1986)————————————————————




Destiny    Conner (9 /1993)                   ——————————————————




 Jacqueline Bogenberger (5/ /1991)———————————————————————-




 Henry    Lee    11/     /1986)———————————————————————————-




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 2 of 29 Document 291-4
 Andrew    Aaron (       10/        /1984)         ————————




 Damion    Patrick (     12/        /1998)————————————————————————




 Brian Anderson (        3/     /1988)————————————————————————--




 Brandon    Scharles (         3/    /92)    —————————————————————————




 Jonathan Brostoff        9/        /1983)—————————————————————————




 afayette A Baldwin (    2/ /2002)                  ————–————




 Lamount D Bradley (      2/        /2002)—————————————————




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 3 of 29 Document 291-4
 urt W Bennett          7/ 1977)——————————————————




 oseph S Hayes (        9/    1996)      ————————————




Deshawnda T Bailey           7/   1986)——————————————————————




 Nani M Ahrens (       11/    /1992)—————————————————————————




 Kim Dood        4/ /1987)———————————————————————————




 Joey R Koepp          1/    /1993)—————————————————————————




Eric L Ajala     12/    /1999)————————————————————————————




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 4 of 29 Document 291-4
Tiffany M Henry       3/       /1983)           ———————————————————




Darius Hayes——————————————————————————————————--




Cherith B Love (9/    /1958)———————————————————————————————




Sara Potts” Smith         6/    /1993)————————————————————




 hannon I Mattner          4/    /1974)——————————————————————————--




Kathleen A Hickman-Turner               7/ /1973)—————————————————————--




 Honni A Al-Juma           4/ /1986)—————————————————————————




 Angela Hayes        4/    /1982)




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 5 of 29 Document 291-4
Vaun L Mayes       3/ /1987)———————————————————————————————




  andy Soloman       5/    /1971)———————————————————————————————




 Gaige P Grosskruetz (          11/ /1993)




 Tabitha A Sanders         5/    /1998)———————————————————————————-




  Isiah C Holmes      2/    /1996)           —————————————————




  aynab H Baalbaki         5/ /1985)




  John L Larry       9/    /1980)————————————————————————




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 6 of 29 Document 291-4
Cole Family+
                Taleavia L Cole         3/ /1998):——————————————————————————




                Lauryn P Cross (6/ /2000)—————————————————————————--




                Tracy Cole        12/    /1971)——————————————————————————-




                 Atty. Kimberly Motley (BF 4/ /1975


                 Office Contact number: 704-765-4887




                 Deja Vishny ———————————————————————————————————
                 Law office: 811 First St, Suite 101, Hudson, WI




               Tristiana E Walls        1/   /1992)——————————————————————————




               Tahudah L Cole       9/ /1994) ——————————————————————————————-




               Case 2:20-cv-01660-NJ Filed 02/02/23 Page 7 of 29 Document 291-4
Lamonica M Langston           8/     /1975)———————————————————————————




Deandre Lockhart       9/    /1985)——————————————————————————–




Caliph A Muab-El        11/        /1981)                ———————————




Charolette L Frazier        5/     /1991)—————————————




Ronald D Bell      3/ /1992)                                ——————————




      Walter Townsend (Ph Oo Ly) 2/ /1997
                  ———–——————————————————




Breon Foster (2/5/2000)             ————————————————————————————




Rosalind R Rodgers “Rozz” (3/         /2001)———————————————————————————




Isaiah J Baldwin (4/   /2002)                 —————————————————




 Case 2:20-cv-01660-NJ Filed 02/02/23 Page 8 of 29 Document 291-4
      Justin J Stevens (5/ /2001)———————————————————————————————




    John N Schuster (          08/    /94)———————————————————————————-




Nasir Re Harvey-Grigsby                  ——————————————————




   Katelyn C Harvey         ,03/     /1996)           ——————————————————




Adia M Green (     , 7/     1981)                               ——-




  Terrance W Raffeet (         ,2/ /1978)                             —–——-




 Justin W Carr (     , 2/    /1996)




 Alyson        Branch         , 2/   /1985)———————————————————————————




  Robert Agnew Jr (         , 12/    /1987)                   ————————–——-




   Case 2:20-cv-01660-NJ Filed 02/02/23 Page 9 of 29 Document 291-4
M Sayfuddin Abbas Amin (Sayf Amin)         7/   /1999)——————————————————————-




Jacob A Pick (          9/ /1991)—————————————————————————————




Adante D Jordan            7/       /1975)————————————————————




Zachary          Pick         9/     /1986)———————————————————————————-




  Jayden H Welch              05/    /2001) —————————————————————




 Briitta Welch          2/ /1972)

                                                                     ———




Crystal Carreon         01/     /1983)———————————————————




 Lisa M Simmons           1/ /1987)————————————————————————————




  Oscar                  Rodriguez (    11/ /1984)————————————————




 Case 2:20-cv-01660-NJ Filed 02/02/23 Page 10 of 29 Document 291-4
Marybeth N Lockwood              10/     /1977)




Katelyn A Wojnar          12/     /1997)————————————————————————————




 Acquinta D Price     1/        /1988)




 Kamila S Ahamed          4/    /1992)————————————————————————




 LaTasha            Lux         12/    /1969)—————————————————————————




Sean M Kafer (      10/        /1979)————————————————————




  Madeleine Schweitzer            4/ /1991)       ——————————————————




   Markasa S Tucker (1/ /1979)—————————————————————————————




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 11 of 29 Document 291-4
 Cherith B Love (   9/   /1958)




William Lofton      8/ /1997)            —————————————————————————




Steven A Conklin         10/     /1957)————————————————————




 Andrew O Simpson-Blaser (         2/   /1991)—————————————————————




Joanna E Beining         3/ /1980) ———————————————————




 Zakarie J Lenski    (12/      /1992)———————————————————————————




 Katherine E Schauble       7/    /92 ——————————————————————————-




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 12 of 29 Document 291-4
Niles J Mckee     7/      /1991)




Ryan Berg                   ————————————————————————————-




Molly J Nilssen   F 12/     /1985)————————————————————————————-




Amanda M Derewicz           3/ /1991)——————————————————————




  onathan Rogers————————————————————————————-————————




David Bowmen        1/     /1987)—————————————————————————————




Jeremy J “Hippy” Henderson         2/   /1978)——————————————————————




Sonora A Larson (11/      /1993)—————————————————————————————




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 13 of 29 Document 291-4
 Raine A Cich             05/        /01)———————————————————————————————————




Mahogany A Givens                8/     /1996)—————————————————————————




Alex A Larson             3/     /1992)———————————————————————--




Jason Kern (         5/        /1986)




Kaylah J Whittenberger                10/    /1989)————————————————————————-




Raymond Moechoe (                9/     /1994)——————————————————————————-




Solana Patterson-Ramos (11/              /1987)-——————————————————————————-




John J Fleissner (             10/    /1989)————————————————————————————-




  Oscar J Walton “Spaidez”                  6/   /1992)————————————————————————




 Case 2:20-cv-01660-NJ Filed 02/02/23 Page 14 of 29 Document 291-4
Mary P “Mara” kachelski (9/       /1972)                                  ——




Gabriella M Vitucci (     08/     /2000)—————————————————————————————




Alexia P Baertlein       7/ /1998)———————————                     ————




LaVita Booker        9/ /1961)                              —————————————




Natasha Rodriguez          3/ /1992)            ——————————————




Caleb Crossot                                                    —————




Trisha Wilson         3/ /1970)                        —————————————————




Sara            Bingenheimer        9/     /1998)———                     ———




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 15 of 29 Document 291-4
Luiza R Calhoun (1/    /1993)




Kaytty J Weeks        1/       /1989)——————————————————————————————




Jada L Vucovic (6/     /2002)                ——————————————————————————




Marqis M McVicker (            7/       /1992)————————————————————————————




Jackie W McGee (           5    /1987)—————————————————————————————




Mark A Jenkins         3/      /1993)———————————————————————————




Byrwynn K Osternga             2/ /1978)




                 ( /       /        )




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 16 of 29 Document 291-4
Rebecca J Bannister        1/    /1975)




Amanda L Adams (4/        /1993)———————————————————                   —————




Amalia A Karioris        11/    /1987)————————————————————————




Crystal G Gleason        1/ /1978)




Shaquana L Hannah         1/ /1985)——————————————————————————————-




Benjamin J Crevensten            2/   /1993)———————————————————————————




Bethany L Crevensten           12/    /1988)—————————————————————--




Amy S Taylor        7/   /1968)——————————————————————————————-




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 17 of 29 Document 291-4
Shawn A Page (1/    /1974)———————————————————————————————




Tyrone         Randle Jr          1/   /1993)———————————————–




 Justin   Leonardo Lacy (10/       /1991)—————————————————————————




  Tamuel R Hendricks         3/   /1981)———————————————————————————




  Heart         Heiden (          5/ /1985)—————————————————————-




  Darrian D Davis      8/    /1981)——————————————————————————-——




  Christina M Benton (       11/ /1986)———————————————————————-




 Nathan D Franklin (        6/    /1984)—————————————————–          —




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 18 of 29 Document 291-4
Eric C Fanning     9/        /1970)—————————————————————————————




Carmen N Palmer         3/    /1980)——————————————————————




(     / /        )—————————————————————————————————————--




James L Beck (     4/        /1948)———————————————————————————————




Angel Vega-Angiano           12/   /1990)———————————————————————————




Peter A Sparks       4/ /1969)




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 19 of 29 Document 291-4
Heidi J Beaudoin (Brunner)                5/ /1966)———————————————————--




John Schuster          1/ /1977)————————————————————————————–——-




Hugo             De Sa Beam (            6/   /1987)




Katheryn A Franklin            4        /1989)————                     ——————--




Katy E Kujala-Korpela              8/    /1986)




Mary     F Randall (      3/       /1950)




Alia A Swingle       8/    /1974)




Tijuana L Conway-Bradley                12/   /1970)




Savannha A Pyatt          01/       /1997)———————————————————————————




  Case 2:20-cv-01660-NJ Filed 02/02/23 Page 20 of 29 Document 291-4
Garrett L Gutenberger            03/     /1993) ——————————————————————————————




Nicholas K Davis         1/    /1999)————————————————————————————




Emily M Schoenfelder (          9/     /1976)




Miranda D Davis      10/        /1997)           —————————————-




Devante S White (        10/     /1992)




Elijah N Cosey      6/        /1993)




Payton A Huff       4/    /2001)




Deanna L Mckenzie B 11/              /1985)—————————————————————————————




Whitney R Roberson             10/ /1986)




Gilbert T Lesky      10/        /1991)




  Case 2:20-cv-01660-NJ Filed 02/02/23 Page 21 of 29 Document 291-4
Heather L Parker (FW 6/   /1992)




Bryan J Garcia (MW 3/     /1978)————————————————————————————————




Nicholas A Hansen (WM 9/     /1979)———————————————————————




Kimberleah M Bledsoe (FB 11/    /1990)————————————————————–———————-




Joseph N Brusky (WM 3/    /1977)———————————————————————-




Tamara Santiago-Ignasiak (FW 9/ /1981)———————————————————————————




Connor M Nash (WM 3/      /1995)




Patricia L Hassenfeldt (Mans) (FW 3/   /1983)




Sara Gabriela Garcia Silva (FW 4/ /1988)————————————————————————-




  Case 2:20-cv-01660-NJ Filed 02/02/23 Page 22 of 29 Document 291-4
Connor M Nash (WM 3/        /1995)




 Stephanie A Croft (BF 4/    /1981)




 Jessica F Fenner (FW 4/    /1974)——————————————————————————




 Christine A Groppi (9/     /1980)————————————————————————————




 Christina L Dresang (FW 7/    /1987)———————————————————————




 Diana J Schmidt (FW 7/     /1974)——————————————————




 Shenicqua M Billings-Troupe (BW 1/   /1993)




 Melissa N Cason (BF 12/    /1984)




Case 2:20-cv-01660-NJ Filed 02/02/23 Page 23 of 29 Document 291-4
                 Nicole J Koback (FB 9/   /1975)




                 Tiffany A Stark (FW 11/ /1978)—————————————————————————————-




                 Mareza E Landeros Ramirez (FW 7/   /1992)—————————————————




                 James C Prince (BM 10/ /1983)————————————————————————————




KM PNyce———————————————————————————————————————




Jsaj OYW “Zay”———————————————————————————————————–————————

SHARP-PARKS, Isaiah Emmanuel (M/B 03/        /03)



Tiffany Lovett-Rivera ————————————————————————————————




Annie Oatmeal———————————————————————————————————————————-




United We Walk




                 Case 2:20-cv-01660-NJ Filed 02/02/23 Page 24 of 29 Document 291-4
                Jessica M Klein (FW 12/ /1988)—————————————————————————————————




Araceli Ramirez (9/   /1990)————————————————————————————————————-




                Ahlahnah Rose




Chasidy N Palmer (FB 3/   /2006)




Chloe R Moore (FW 4/ /1999)




Mary M Rinnert (FW 9/ /1983)




Christina Benton



Tai Cassandra




                   Case 2:20-cv-01660-NJ Filed 02/02/23 Page 25 of 29 Document 291-4
Tynacity




Starlife Fortune



Sheilah Rossow



Lia Bella



Shyne Marie



Rico Santana



Malik Simmons




Daisy Chain



Ramone Santana



Jozi A Walker



Jessica Aguilar



Paige Walt



Brittany Lee




                   Case 2:20-cv-01660-NJ Filed 02/02/23 Page 26 of 29 Document 291-4
Case 2:20-cv-01660-NJ Filed 02/02/23 Page 27 of 29 Document 291-4
Case 2:20-cv-01660-NJ Filed 02/02/23 Page 28 of 29 Document 291-4
Case 2:20-cv-01660-NJ Filed 02/02/23 Page 29 of 29 Document 291-4
